                         Case 8-19-71024-reg               Doc 1        Filed 02/12/19           Entered 02/12/19 11:59:56



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Robert Allen Duralee Group, LLC

2.   All other names debtor       DBA     Duralee Fabrics
     used in the last 8 years     DBA     Highland Court
     Include any assumed
                                  DBA     Suburban Fabrics
     names, trade names and       DBA     Techstyle Fabrics
     doing business as names      DBA     B. Berger Company
                                  DBA     Clarke & Clarke
                                  DBA     Gaetano Fabrics

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  49 Wireless Boulevard
                                  Suite 150
                                  Hauppauge, NY 11788
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Suffolk                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  50 Peachtree Boulevard, Gaffney, SC 29341
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.robertallendesign.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                        Case 8-19-71024-reg                      Doc 1      Filed 02/12/19            Entered 02/12/19 11:59:56

Debtor    The Robert Allen Duralee Group, LLC                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4243

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Rider 1                                                   Relationship
                                                 District                                 When                            Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                      Case 8-19-71024-reg                   Doc 1       Filed 02/12/19            Entered 02/12/19 11:59:56

Debtor   The Robert Allen Duralee Group, LLC                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                       Case 8-19-71024-reg                 Doc 1         Filed 02/12/19             Entered 02/12/19 11:59:56

Debtor    The Robert Allen Duralee Group, LLC                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       02/12/2019
                                                  MM / DD / YYYY


                             X     /s/ Timothy Boates                                                     Timothy Boates
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ Mark T. Power                                                           Date     02/12/2019
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Mark T. Power
                                 Printed name

                                 Hahn & Hessen LLP
                                 Firm name

                                 488 Madison Avenue
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     212-478-7200                  Email address      MPower@hahnhessen.com

                                 1607 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
          Case 8-19-71024-reg               Doc 1        Filed 02/12/19      Entered 02/12/19 11:59:56




HAHN & HESSEN LLP
488 Madison Avenue
New York, New York 10022
Telephone: (212) 478-7200
Facsimile: (212) 478-7400
Mark T. Power, Esq.
Janine M. Figueiredo, Esq.

Proposed Counsel to the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

---------------------------------------------------------------------- X
In re:                                                                 :   Chapter 11
                                                                       :
The Robert Allen Duralee Group, LLC,                                   :   Case No. 19-_____ (___)
                                                                       :
                                         Debtor.                       :   Joint Administration Requested
                                                                       :
---------------------------------------------------------------------- X

                                                            Rider 1
                  Pending Bankruptcy Cases Filed by the Debtor and Its Affiliates

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed
a voluntary petition in the United States District Court for the Eastern District of New York
for relief under chapter 11 of the United States Code. The Debtors have moved for joint
administration of their cases with the lead case number assigned to the chapter 11 case of
Décor Holdings, Inc.

     1.   Décor Holdings, Inc.
     2.   Décor Intermediate Holdings LLC
     3.   The Robert Allen Duralee Group, Inc.
     4.   The Robert Allen Duralee Group, LLC
     5.   The Robert Allen Duralee Group Furniture, LLC
                        Case 8-19-71024-reg              Doc 1      Filed 02/12/19          Entered 02/12/19 11:59:56
                                            UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF NEW YORK
                                                               www.nyeb.uscourts.gov


                                                 STATEMENT PURSUANT TO LOCAL
                                                   BANKRUPTCY RULE 1073-2(b)

           The Robert Allen Duralee Group, LLC
DEBTOR(S):______________________________________________________ CASE NO.:______________________

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

x    NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
     THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:


1.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
     PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN
     SCHEDULE “A/B” OF RELATED CASES:
     ________________________________________________________________________________________________
2.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES:________________________________________________________________________________________________

                                                                            1
                       Case 8-19-71024-reg           Doc 1      Filed 02/12/19       Entered 02/12/19 11:59:56
                                                                    [OVER]

     DISCLOSURE OF RELATED CASES (cont’d)

3.   CASE NO.: _________________________ JUDGE: __________________________ DISTRICT/DIVISION: ______________________

     CASE PENDING: (YES/NO): _____________ [If closed] Date of Closing: ____________________________________

     CURRENT STATUS OF RELATED CASE: ___________________________________________________________________________
                                     (Discharged/awaiting discharge, confirmed, dismissed, etc.

             MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): ________________________________________________

•    SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
     REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
     RELATED CASES: ________________________________________________________________________________________________

•    SCHEDULE A/B: ASSETS – REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
     PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B – PART 9” WHICH WAS ALSO LISTED IN
     SCHEDULE “A/B” OF RELATED CASES:
     ________________________________________________________________________________________________
     NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
     be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


     TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

                                                                              Y
     I am admitted to practice in the Eastern District of New York (Y/N): __________

     CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

     I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as
     indicated elsewhere on this form.



      /s/ Mark T. Power
     __________________________________________                                       ______________________________________________
     Signature of Debtor’s Attorney                                                   Signature of Pro-se Debtor/Petitioner

                                                                                       49 Wireless Boulevard, Suite 150
                                                                                      ______________________________________________
                                                                                      Mailing Address of Debtor/Petitioner

                                                                                       Hauppauge, NY 11788
                                                                                      ______________________________________________
                                                                                      City, State, Zip Code

                                                                                      ______________________________________________
                                                                                      Email Address

                                                                                      ______________________________________________
                                                                                      Area Code and Telephone Number




     Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
     other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
     the dismissal of the case with prejudice.

     NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
     result.


                                                                      2
         Case 8-19-71024-reg                Doc 1        Filed 02/12/19      Entered 02/12/19 11:59:56




HAHN & HESSEN LLP
488 Madison Avenue
New York, New York 10022
Telephone: (212) 478-7200
Facsimile: (212) 478-7400
Mark T. Power, Esq.
Janine M. Figueiredo, Esq.

Proposed Counsel to the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :   Chapter 11
                                                                       :
Décor Holdings, Inc., et al.,             1
                                                                       :   Case No. 19-_____ (___)
                                                                       :   Case No. 19-_____ (___)
                                         Debtors.                      :   Case No. 19-_____ (___)
                                                                       :   Case No. 19-_____ (___)
                                                                       :   Case No. 19-_____ (___)
                                                                       :
                                                                       :   Joint Administration Requested
---------------------------------------------------------------------- X

            CONSOLIDATED LIST OF CREDITORS WHO HAVE THE
      THIRTY (30) LARGEST UNSECURED CLAIMS AND ARE NOT INSIDERS

        The above-captioned debtor and its debtor affiliates (collectively, the “Debtors”)
hereby certify that the Consolidated List of Creditors Who Have the Thirty (30) Largest Unsecured
Claims and Are Not Insiders submitted herewith contains the names and addresses of the
Debtors’ consolidated top thirty (30) unsecured creditors (the “Top 30 List”). The list has
been prepared from the Debtors’ unaudited books and records as of the Petition Date. The
Top 30 List was prepared in accordance with Rule 1007(d) of the Federal Rules of
Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases. The Top 30 List does not
include: (1) persons who come within the definition of an “insider” set forth in 11 U.S.C.
§ 101(31); or (2) secured creditors. The information presented in the Top 30 List shall not
constitute an admission by, nor is it binding on, the Debtors. Moreover, nothing herein
shall affect the Debtors’ right to challenge the amount or characterization of any claim at a

1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Décor Holdings, Inc. (4174); Décor Intermediate Holdings LLC (5414); The
Robert Allen Duralee Group, Inc. (8435); The Robert Allen Duralee Group, LLC (1798); and The Robert
Allen Duralee Group Furniture, LLC (2835). The corporate headquarters and the mailing address for the
Debtors listed above is 49 Wireless Boulevard, Suite 150, Hauppauge, NY 11788. The Debtors also maintain
a separate corporate office at 2 Hampshire Street, Suite 300, Foxboro, MA 02035.
      Case 8-19-71024-reg       Doc 1     Filed 02/12/19    Entered 02/12/19 11:59:56




later date. The failure of the Debtors to list a claim as contingent, unliquidated or disputed
does not constitute a waiver of the Debtors’ right to contest the validity, priority, and/or
amount of any such claim. The Debtors are comprised of eight (5) affiliated companies.
There are over 6,000 creditors and parties in interest in these cases, and there may be a
potential for confusion and/or overlap regarding creditor obligations. Given the
circumstances, the Debtors submit that it is appropriate for them to file a consolidated list of
their thirty (30) largest unsecured creditors.




                                               2
                          Case 8-19-71024-reg                   Doc 1           Filed 02/12/19            Entered 02/12/19 11:59:56


Debtor name       Decor Holdings, Inc. , et al.

UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF NEW YORK
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest                                                         ( Consolidated )
Unsecured Claims and Are Not Insiders                                                                                                                                        12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                         Nature of the        Indicate if      Amount of unsecured claim
                                              Name, telephone number, and                                  claim is
mailing address, including zip                email address of creditor contact       claim                contingent,      If the claim is fully unsecured, fill in only
code.                                                                                 (for example,        unliquidated,    unsecured claim amount. If claim is partially
                                                                                      trade debts, bank    or disputed      secured, fill in total claim amount and
                                                                                      loans,                                deduction for value of collateral or setoff to
                                                                                      professional                          calculate unsecured claim.
                                                                                      services, and
                                                                                      government
                                                                                                                           Total Claim, if   Deduction        Unsecured claim
                                                                                      contracts)
                                                                                                                           partially         for value of
                                                                                                                           secured           collateral or
                                                                                                                                             setoff


1   Valdese Weavers LLC                       Valdese Weavers LLC                     Vendor                                                                         $2,575,043.87
    P.O. Box 733362                           Tel: 800-633-8679
    Dallas, TX 75373-3362                     Email: Cbenfield@Valdeseweavers.com;
                                              Jopiercy@Valdeseweavers.com



2   Sumec Textile Company Ltd                 Sumec Textile Company Ltd               Vendor                                                                         $1,682,530.84
    69 Aoti St                                Tel: 011 86 25 8969 5773
    Jianye District                           Email: cuiyue@sumec.com.cn;
    Nanjing 210029                            yuyang@sumec.com.cn;
    China                                     chenguanyu@sumec.com.cn



3   Triplex Shanghai Enterprises              Triplex Shanghai Enterprises            Vendor                                                                           $978,635.97
    Room 605                                  Tel: 011 86 21 6315 3101
    969 Zhong Shan Na Rd                      Email: wujc@shartex.com.cn;
    Shanghai 200011                           volexgeng@shartex.com.cn;
    China                                     caojun@shartex.com.cn




4   EDPA USA/Dilhan Texsil                    EDPA USA/Dilhan Texsil                  Vendor                                                                           $745,722.40
    350 5th Ave, Ste 6405                     Tel: 914-478-4898; 212-714-0644
    New York, NY 10118                        Email: Llter@Edpausa.com;
                                              esraoskan@dilhanusa.com




5   P Kaufmann Inc                            P Kaufmann Inc                          Vendor                                                                           $650,051.54
    3 Park Ave, 36 Fl                         Tel: 212-292-3234
    New York, NY 10016-5902                   Email: Jbraverman@Pkaufmann.com;
                                              mmartino@pkaufmann.com




 Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 Page 1
                         Case 8-19-71024-reg                       Doc 1     Filed 02/12/19            Entered 02/12/19 11:59:56




Debtor name      Decor Holdings, Inc. , et al.                                                             Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                      Nature of the        Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                                claim is
mailing address, including zip               email address of creditor contact     claim                contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,        unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank    or disputed      secured, fill in total claim amount and
                                                                                   loans,                                deduction for value of collateral or setoff to
                                                                                   professional                          calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                        Total Claim, if   Deduction        Unsecured claim
                                                                                   contracts)
                                                                                                                        partially         for value of
                                                                                                                        secured           collateral or
                                                                                                                                          setoff


6   UPS                                      UPS                                   Vendor                                                                           $553,040.67
    55 Glenlake Parkway NE                   Tel: 800-462-7872
    Atlanta, GA 30328




7   Fleuron                                  Fleuron                               Vendor                                                                           $509,545.52
    4030 La Reunion Pkwy, Ste 100            Tel: 214-678-0805
    Dallas, TX 75212-6022




8   V.I.P. Incorporated                      V.I.P. Incorporated                   Vendor                                                                           $362,653.76
    2800 112th St, Ste 100                   Tel: 972-647-8888
    Grand Prairie, TX 75050-6495




9   LA Mills                                 LA Mills                              Vendor                                                                           $347,510.90
    2331 E 8th St                            Tel: 213-622-8031
    Los Angeles, CA 90021-1732               Email: Andrew@Lamills.Net




10 MTL Globalventures LLC Ipm Us             MTL Globalventures LLC Ipm Us         Vendor                                                                           $329,504.88
   Attn: Accounts Receivable                 Tel: 212-481-7967
   1325 Veterans Memorial Hwy                Email: Pflynn@Mtlpa.com
   Jessup, PA 18434-1825



11 World Linen & Textile Co Inc              World Linen & Textile Co Inc          Vendor                                                                           $309,892.71
   2824 E 11th St                            Tel: 213-748-1370
   Los Angeles, CA 90023-3406                Email: Nelson@Worldlinen.com




12 Swavelle / Mill Creek                     Swavelle / Mill Creek                 Vendor                                                                           $309,066.82
   15 E 26th St, 2nd Fl                      Tel: 866-595-5315
   New York, NY 10010-1536                   Email: Customerservice@Swavelle.com




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               Page 2
                         Case 8-19-71024-reg                   Doc 1         Filed 02/12/19                Entered 02/12/19 11:59:56




Debtor name       Decor Holdings, Inc. , et al.                                                                Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                          Nature of the        Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                     claim is
mailing address, including zip              email address of creditor contact          claim                contingent,      If the claim is fully unsecured, fill in only
code.                                                                                  (for example,        unliquidated,    unsecured claim amount. If claim is partially
                                                                                       trade debts, bank    or disputed      secured, fill in total claim amount and
                                                                                       loans,                                deduction for value of collateral or setoff to
                                                                                       professional                          calculate unsecured claim.
                                                                                       services, and
                                                                                       government
                                                                                                                            Total Claim, if   Deduction        Unsecured claim
                                                                                       contracts)
                                                                                                                            partially         for value of
                                                                                                                            secured           collateral or
                                                                                                                                              setoff


13 American Express Co                      American Express Co                        Vendor                                                                           $278,500.79
   200 Vesey St                             Tel: 212-640-2000
   New York, NY 10285




14 Wearbest Sil-Tex Mills, Ltd              Wearbest Sil-Tex Mills, Ltd                Vendor                                                                           $258,531.59
   P.O. Box 51023                           Tel: 973-340-8844
   Newark, NJ 07101-5123                    Email: Customerservice@Wearbest.com




15 Parthenon Prints Inc                     Parthenon Prints Inc                       Vendor                                                                           $243,874.37
   909 W 39th St                            Tel: 907-769-8321
   P.O. Box 2505
   Panama City, FL 32402-2505




16 Classical Elements                       Classical Elements                         Vendor                                                                           $242,374.84
   P.O. Box 859                             Tel: 919-234-8025
   Morrisville, NC 27560-0859               Email: Denise@Classicalelements.com




17 Sunbury Textile Mills                    Sunbury Textile Mills                      Vendor                                                                           $207,437.10
   P.O. Box 768                             Tel: 212-925-4600
   Sunbury, PA 17801-0768                   Email: Dradel@Sunburytextile.com




18 Samplex. S.A. De C.V.                    Samplex. S.A. De C.V.                      Vendor                                                                           $201,727.62
   P.O. Box 843917                          Tel: 631-726-8042
   Dallas, TX 75284-3917




19 Shangai Chenglong Textile Arts           Shangai Chenglong Textile Arts             Vendor                                                                           $201,727.62
   Co. Ltd, (Chltex Ltd, )                  Email: chris@chltex.net; jane@chltex.net
   1237 Lujiabang Rd, 27 Shan, Ste 808
   China




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                    Page 3
                          Case 8-19-71024-reg                    Doc 1       Filed 02/12/19             Entered 02/12/19 11:59:56




Debtor name       Decor Holdings, Inc. , et al.                                                             Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                       Nature of the        Indicate if      Amount of unsecured claim
                                             Name, telephone number, and                                 claim is
mailing address, including zip               email address of creditor contact      claim                contingent,      If the claim is fully unsecured, fill in only
code.                                                                               (for example,        unliquidated,    unsecured claim amount. If claim is partially
                                                                                    trade debts, bank    or disputed      secured, fill in total claim amount and
                                                                                    loans,                                deduction for value of collateral or setoff to
                                                                                    professional                          calculate unsecured claim.
                                                                                    services, and
                                                                                    government
                                                                                                                         Total Claim, if   Deduction        Unsecured claim
                                                                                    contracts)
                                                                                                                         partially         for value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


20 Resorts Atlantic City                     Resorts Atlantic City                  Vendor                                                                           $199,515.26
   c/o Bray Whaler Intl Inc                  Tel: 303-689-0800
   7936 E Arapahoe Ct, #1000                 Email: lauren.johnson@braywhaler.com
   Centennial, CO 80112




21 Kets Tekstil Turizm Tic A.S.              Kets Tekstil Turizm Tic A.S.           Vendor                                                                           $187,265.91
   Unkapani I.M.C. 1 Block                   Tel: 011 90 212 549 2630
   No: 1252 34470                            Email: yunus.karakas@kets.com.tr;
   Eminonu, Istanbul                         metin.ozdemir@kets.com.tr
   Turkey



22 Parry Murray & Co Ltd                     Parry Murray & Co Ltd                  Vendor                                                                           $182,326.13
   Simpson House, 3rd Fl                     Tel: 011 44 844 800 9874
   6 Cherry Orchard Rd                       Email: Akumar@Parrymurray.Co.Ukk
   Croydon Cr0 6Ba
   United Kingdom




23 Swan Dyeing and Printing Corp             Swan Dyeing and Printing Corp          Vendor                                                                           $182,197.32
   372 Stevens St                            Tel: 508-674-4611
   Fall River, MA 02721-4934




24 Covington Fabrics                         Covington Fabrics                      Vendor                                                                           $170,269.24
   470 7th Ave, Ste 900                      Tel: 011 90 212 549 2630
   New York, NY 10018                        Email: Ltaylor@Covington-Newyork.com




25 CR Resorts LLC                            CR Resorts LLC                         Vendor                                                                           $170,148.41
   c/o ADM Associates, Inc                   Tel: 404-892-1975
   960 Piedmont Ave, NE
   Atlanta, GA 30309




 Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                Page 4
                         Case 8-19-71024-reg                 Doc 1          Filed 02/12/19            Entered 02/12/19 11:59:56




Debtor name      Decor Holdings, Inc. , et al.                                                            Case No. (If known)

                                                                     (Continuation Sheet)

Name of creditor and complete                                                     Nature of the        Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                                 claim is
mailing address, including zip             email address of creditor contact      claim                contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,        unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank    or disputed      secured, fill in total claim amount and
                                                                                  loans,                                deduction for value of collateral or setoff to
                                                                                  professional                          calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                       Total Claim, if   Deduction        Unsecured claim
                                                                                  contracts)
                                                                                                                       partially         for value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


26 Richloom Fabrics Group Inc              Richloom Fabrics Group Inc             Vendor                                                                           $162,054.53
   261 5th Ave                             Tel: 212-685-7707
   New York, NY 10016-7701                 Email: Maliperto@Richloomfabrics.com




27 Agolab SRL                              Agolab SRL                             Vendor                                                                           $159,419.26
   Via Michelango 17/B                     Tel: XXX-XX-XXXX-662400
   59013 Montemurlo                        Email: info@texao.com
   Italy




28 Source Asia Trading Company             Source Asia Trading Company            Vendor                                                                           $155,874.30
   1065 Zhao Jia Bay Rd, Rm 1401           Tel: 011 86 21 3368 0606
   Shanghai 200030                         Email: joshr@sourceasisltd.com
   China




29 Heritage Fabrics LLC                    Heritage Fabrics LLC                   Vendor                                                                           $143,472.05
   c/o Millberg Factors                    Tel: 704-782-2995
   99 Park Ave                             Email: Cody@Heritagehousefabrics.com
   New York, NY 10016-1601




30 Nassimi LLC                             Nassimi LLC                            Vendor                                                                           $137,173.62
   370 7th Ave, Ste 1600                   Tel: 888-643-8080
   New York, NY 10001-3976                 Email: Orders@Nassimi.com




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                Page 5
                       Case 8-19-71024-reg                           Doc 1         Filed 02/12/19             Entered 02/12/19 11:59:56




 Fill in this information to identify the case:

 Debtor name         The Robert Allen Duralee Group, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          02/12/2019                              X    /s/ Timothy Boates
                                                                         Signature of individual signing on behalf of debtor

                                                                         Timothy Boates
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
         Case 8-19-71024-reg                Doc 1        Filed 02/12/19       Entered 02/12/19 11:59:56




HAHN & HESSEN LLP
488 Madison Avenue
New York, New York 10022
Telephone: (212) 478-7200
Facsimile: (212) 478-7400
Mark T. Power, Esq.
Janine M. Figueiredo, Esq.

Proposed Counsel to the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

---------------------------------------------------------------------- X
In re:                                                                 :    Chapter 11
                                                                       :
The Robert Allen Duralee Group, LLC,                                   :    Case No. 19-_____ (___)
                                                                       :
                                         Debtor.                       :    Joint Administration Requested
                                                                       :
---------------------------------------------------------------------- X

                           CORPORATE OWNERSHIP AND
                E.D.N.Y. LOCAL BANKRUPTCY RULE 1073-3 STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, and Rule 1073-3 of the Local Bankruptcy Rules for the Eastern District of New

York, the undersigned authorized officer of the Debtor certifies that the below listed entities

that come within the definition of a “corporation” set forth in 11 U.S.C. § 101(9), other than

a governmental unit, directly or indirectly own 10% or more of any class of the Debtor’s

equity interest.


                       Shareholder                                         Percentage Ownership Interest

Décor Intermediate Holdings LLC
49 Wireless Boulevard                                                                    100%
Suite 150
Hauppauge, NY 11788
                       Case 8-19-71024-reg                           Doc 1         Filed 02/12/19             Entered 02/12/19 11:59:56




 Fill in this information to identify the case:

 Debtor name         The Robert Allen Duralee Group, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration     Statement of Corporate Ownership

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          02/12/2019                              X    /s/ Timothy Boates
                                                                         Signature of individual signing on behalf of debtor

                                                                         Timothy Boates
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
         Case 8-19-71024-reg                Doc 1        Filed 02/12/19      Entered 02/12/19 11:59:56




HAHN & HESSEN LLP
488 Madison Avenue
New York, New York 10022
Telephone: (212) 478-7200
Facsimile: (212) 478-7400
Mark T. Power, Esq.
Janine M. Figueiredo, Esq.

Proposed Counsel to the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

---------------------------------------------------------------------- X
In re:                                                                 :   Chapter 11
                                                                       :
The Robert Allen Duralee Group, LLC,                                   :   Case No. 19-_____ (___)
                                                                       :
                                         Debtor.                       :   Joint Administration Requested
                                                                       :
---------------------------------------------------------------------- X

                                 LIST OF EQUITY SECURITY HOLDERS

          Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3) the above-captioned

Debtor hereby provides the following list of holders of equity interests:


   Name and Address of Interest                           Type of Interest Held         Percentage of Interest
            Holder                                                                              Held

Décor Intermediate Holdings LLC
49 Wireless Boulevard                                     Membership Interests                  100%
Suite 150
Hauppauge, NY 11788
                       Case 8-19-71024-reg                           Doc 1         Filed 02/12/19             Entered 02/12/19 11:59:56




 Fill in this information to identify the case:

 Debtor name         The Robert Allen Duralee Group, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration     List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          02/12/2019                              X    /s/ Timothy Boates
                                                                         Signature of individual signing on behalf of debtor

                                                                         Timothy Boates
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
      Case 8-19-71024-reg      Doc 1    Filed 02/12/19    Entered 02/12/19 11:59:56




           WRITTEN CONSENTS OF THE BOARDS OF DIRECTORS
             AND BOARDS OF MANAGERS, AS APPLICABLE,
                       OF DÉCOR HOLDINGS, INC.
       AND EACH OF ITS SUBSIDIARIES LISTED ON EXHIBIT A HERETO

                                     February 11, 2019

        Each of the undersigned, being all of the members of the board of directors and
board of managers (each, an “Authorized Governing Body” and collectively, the
“Authorized Governing Bodies”) of the applicable entity or entities listed on Exhibit A
hereto (each a “Company” and collectively, the “Companies”), pursuant to the applicable
laws of the jurisdiction of organization of each Company and the applicable provisions of
the organizational documents of each Company, does hereby consent to the following
actions, adopt the following resolutions by written consent in lieu of a meeting and agree
that said resolutions shall have the same force and effect as if duly adopted at a meeting of
the Authorized Governing Body of each Company held for that purpose:

       WHEREAS, the Authorized Governing Bodies considered the financial and
operational conditions of the Companies' businesses;

       WHEREAS, the Authorized Governing Bodies reviewed the historical performance
of the Companies, the market for the Companies' products and services, and the current and
long term liabilities of the Companies; and

        WHEREAS, the Authorized Governing Bodies reviewed, considered, and received
the recommendations of the senior management of the Companies and the advice of the
Companies' professionals and advisors with respect to potential avenues for relief that are
available to the Authorized Governing Bodies, upon behalf of the Companies, including the
possibility of pursuing a restructuring of the Companies' business and assets under chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”);

       WHEREAS, the Authorizing Governing Bodies have met to discuss the alternatives
presented to the Acting Governing Bodies and the recommendations of senior management
of the Companies and the advice of the Companies' professionals and advisors;

       NOW, THEREFORE, BE IT:

       I.     Chapter 11 Filings.

        RESOLVED, that, in the business judgment of each of the Authorized Governing
Bodies, after consideration of the alternatives presented to the Acting Governing Bodies and
the recommendations of senior management of the Companies and the advice of the
Companies' professionals and advisors that, at this time under the relevant circumstances, it
is desirable and in the best interests of the Companies, their creditors, equity holders, and
other interested parties (as such consideration may be appropriate under applicable law) for
voluntary petitions to be filed by the Companies under the provisions of chapter 11 of the
Bankruptcy Code; and it is
      Case 8-19-71024-reg       Doc 1    Filed 02/12/19     Entered 02/12/19 11:59:56




       FURTHER RESOLVED, that the Companies' petitions seeking relief under the
provisions of chapter 11 of the Bankruptcy Code (the “Petitions”) are approved in all
respects and that Timothy Boates, Chief Restructuring Officer of all of the Companies,
Lee Silberman, Chief Executive Officer of all of the Companies, and the other officers
of the Companies (collectively, the “Authorized Persons”) be, and hereby are,
authorized and directed, on behalf of and in the name of the Companies, to execute the
Petitions or authorize the execution of the Petitions and to cause the same to be filed
with the United States Bankruptcy Court for the Eastern District of New York (the
“Bankruptcy Court”), at such time as the Authorized Persons deem appropriate, in order
to commence cases under chapter 11 of the Bankruptcy Code (collectively, the “Chapter
11 Cases”); and it is

       FURTHER RESOLVED, that the Authorized Persons be, and hereby are,
authorized to execute and file all petitions, motions (including, without limitation, a motion
to approve bid procedures), schedules, lists, applications, pleadings and other papers and to
take any and all actions which they may deem necessary or proper in connection with the
prosecution of the Chapter 11 Cases and, in that connection, for the Authorized Persons to
retain and employ all assistance, by legal counsel or otherwise, which they may deem
necessary or proper in order to successfully prosecute the Chapter 11 Cases.

       II.    Retention of Professionals.

       RESOLVED, that the Authorized Persons be, and hereby are, authorized and
directed to retain on behalf of the Companies, upon such terms and conditions as the
Authorized Persons shall approve and subject to Bankruptcy Court approval, the following
to provide services to the Companies in connection with the Chapter 11 Cases:

       (a)    Hahn & Hessen LLP, to render legal services to and to serve as counsel for
              the Companies;

       (b)    Halperin Battaglia Benzija, LLP, to render legal services to and to serve as
              conflicts and special counsel for the Companies;

       (c)    RAS Management Advisors, LCC, to provide the Companies a chief
              restructuring officer and certain additional personnel, to designate Timothy
              Boates as Chief Restructuring Officer and to assist the Companies in carrying
              out their duties under chapter 11 of the Bankruptcy Code, and to take any and
              all actions to advance the Companies’ rights and discharge their obligations;

       (d)    Blum Shapiro to render services in connection with the preparation and filing
              of federal, state and local tax returns and assist in any matters relating thereto;

       (e)    SSG Capital Advisors, LLC to act as investment banker for the Companies;

       (f)    Great American or such other firm selected by Management to assist in the
              sale of slow-moving inventory and other assets deemed non-essential to the
              overall going-concern value of the Companies; and



                                               2
      Case 8-19-71024-reg      Doc 1    Filed 02/12/19   Entered 02/12/19 11:59:56




       (g)    Omni Management Group, Inc. to serve as claims, noticing and solicitation
              agent for the Companies; and it is

        FURTHER RESOLVED, that the Authorized Persons be, and hereby are,
authorized to retain on behalf of the Companies other attorneys, investment bankers,
accountants, restructuring professionals, financial advisors, and other professionals, upon
such terms and conditions as the Authorized Persons shall approve, to render services to the
Companies in connection with the Chapter 11 Cases or any related insolvency proceeding;
and it is

        FURTHER RESOLVED, that in connection with the retention of attorneys,
investment bankers, accountants, restructuring professionals, financial advisors, and other
professionals, the Authorized Persons, be, and hereby are, authorized to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of
the Chapter 11 Cases, and to cause to be filed appropriate applications for authority to
retain all such professionals.

       III.   Debtor in Possession Ratification and Amendment
              Agreement of the Existing Credit and Security Agreement.

        RESOLVED, that in connection with the Chapter 11 Cases, (a) the Authorized
Governing Bodies authorize and approve (i) the Company’s execution, delivery and
performance of its obligations under that certain debtor-in-possession Ratification and
Amendment Agreement of the existing Amended and Restated Credit and Security
Agreement, dated as of March 31, 2017, as amended, and the proposed forms of Interim
and Final DIP Financing Orders to be submitted to the Bankruptcy Court for approval, with
such changes thereto as the Authorized Persons executing the same shall approve (the “DIP
Credit Agreement”), proposed to be entered into by and among the Companies, the lenders
party thereto (the “Lenders”), and Wells Fargo Bank, N.A., as agent and co-collateral agent
for the Lenders, and any security agreements, guarantee agreements, other agreements,
notes, consents, certificates, amendments, assignments and instruments by the Companies
in connection therewith (the “DIP Credit Documents” and together with the DIP Credit
Agreement, the “DIP Financing Documents”), (ii) the granting of a security interest by the
Companies in the assets of the Companies as collateral security and the guaranty of the
obligations of the Companies under the DIP Financing Documents, and (iii) any
transactions effected or to be effected pursuant to the terms and provisions of the DIP
Financing Documents, and (b) any Authorized Person be, and hereby is, authorized and
empowered, in the name and on behalf of the Company, to negotiate, execute, deliver, and
perform or cause the performance of the Companies’ obligations under any DIP Financing
Document with such changes, amendments, supplements, additions or other modifications
to the DIP Financing Documents as any Authorized Person executing same shall approve
as being necessary or desirable, such approval to be evidenced by such execution, as such
Authorized Person executing the same considers necessary, appropriate, proper, or desirable
to effectuate the transactions contemplated by the DIP Financing Documents and other
financing arrangements necessary, appropriate, proper, or desirable in the interest of the
Companies in connection with the Chapter 11 Cases, such determination to be conclusively
evidenced by such execution or taking of such action.


                                             3
      Case 8-19-71024-reg       Doc 1    Filed 02/12/19   Entered 02/12/19 11:59:56




       IV.    General Authority and Ratification.

        RESOLVED, that all acts lawfully done or actions lawfully taken by any Authorized
Person to file the Petitions or with respect to the Chapter 11 Cases, any related insolvency
proceeding, or in any matter related thereto, or by virtue of these resolutions be, and hereby
are, in all respects ratified, confirmed, and approved; and it is

       FURTHER RESOLVED, that each Authorized Person of the Companies be,
and each acting alone is, hereby authorized, empowered and directed, for and on
behalf of such Companies, to (i) take or cause to be taken any and all actions,
including, without limitation, the execution, acknowledgment, filing and delivery of
any and all papers, agreements, documents, instruments and certificates, as such
Authorized Persons may deem necessary or advisable to carry out and perform the
obligations of such Companies under the foregoing resolutions, (ii) consummate the
transactions contemplated thereby, and otherwise carry out the purposes and intent
of the foregoing resolutions, (iii) incur and pay or cause to be paid all fees, expenses,
and taxes, including without limitation, legal fees and expenses; (iv) engage such
persons as Authorized Person shall in his judgment determine to be necessary,
appropriate or desirable, and in each case, the performance of any such acts and the
execution, acknowledgment, filing and delivery by such Authorized Persons of any
such papers, agreements, documents, instruments and certificates shall conclusively
evidence their authority therefor; and it is

      FURTHER RESOLVED, that any Authorized Person of the Companies is
authorized to do or cause to be done any and all such acts and things and execute
and deliver any and all documents and papers as they may deem appropriate to carry
out the purposes of the foregoing resolutions and each of the transactions
contemplated thereby; and it is

      FURTHER RESOLVED, that any and all actions taken and all agreements,
instruments, reports and documents executed, delivered, or filed from the date of
formation of the Companies through the date hereof by any manager or Authorized
Person of the Companies in the name of and on behalf of the Companies, in
connection with, and consistent with, any of the foregoing resolutions hereby are
approved, ratified and confirmed in all respects; and it is

      FURTHER RESOLVED, that this consent may be executed in one or more
counterparts, each of which shall be deemed to be an original, but all of which
together shall be considered one and the same instrument; and that this consent may
be executed by electronic transmission; and it is

      FURTHER RESOLVED, that this consent be filed with the records of the
meetings of the Authorized Governing Bodies.




                                              4
Case 8-19-71024-reg   Doc 1   Filed 02/12/19       Entered 02/12/19 11:59:56




                        [Signature Pages Follow]




                                   5
    Case 8-19-71024-reg      Doc 1     Filed 02/12/19        Entered 02/12/19 11:59:56




        IN WITNESS WHEREOF,the undersigned members of(i) the Boards of Directors
of Decor Holdings, Inc. and The Robert Allen Duralee Group, Inc. and (ii) the Boards of
Managers of Decor Intermediate Holdings LLC, The Robert Allen Duralee Group, LLC,
and The Robert Allen Duralee Group Furniture, LLC have executed this written consent as
of the date set forth below.




                                         Steven Brownlie
                                         Date: •;.-7////9




                                         Kevin Mason
                                         Date:




                                         William Fuchs
                                         Date:




                                        Lee Silberman
                                        Date:




                               [Signature page to Consent]
    Case 8-19-71024-reg      Doc 1     Filed 02/12/19        Entered 02/12/19 11:59:56




        IN WITNESS WHEREOF,the undersigned members of(i) the Boards of Directors
of Decor Holdings, Inc. and The Robert Allen Duralee Group, Inc. and (ii) the Boards of
Managers of Decor Intermediate Holdings LLC, The Robert Allen Duralee Group, LLC,
and The Robert Allen Duralee Group Furniture, LLC have executed this written consent as
of the date set forth below.




                                         Steven Brownlie
                                         Date:




                                         Kevin Mason
                                         Date: -.0 1""/6




                                         William Fuchs
                                         Date:




                                        Lee Silberman
                                        Date:




                               [Signature page to Consent]
Case 8-19-71024-reg   Doc 1   Filed 02/12/19   Entered 02/12/19 11:59:56
Case 8-19-71024-reg   Doc 1   Filed 02/12/19   Entered 02/12/19 11:59:56
Case 8-19-71024-reg   Doc 1   Filed 02/12/19   Entered 02/12/19 11:59:56




                              EXHIBIT A

                         Décor Holdings, Inc.
                  Décor Intermediate Holdings LLC
                The Robert Allen Duralee Group, LLC
                 The Robert Allen Duralee Group, Inc.
            The Robert Allen Duralee Group Furniture, LLC




                               Exhibit A
